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                        IN THE UNITED ST ATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

BONITA HEADLAM-CLARKSON,
              Plaintiff                                          CIVIL ACTION

                v.

CIGNA CORP., et al.,                                             No. 20-4068
                  Defendants

                                               ORDER

        AND NOW, this 30th day of September, 2020, upon consideration of Defendant's

September 30, 2020 email containing the parties' joint request to extend the deadline for

Defendant's Responsive Pleading, it is ORDERED that Defendant shall file any Responsive

Pleading by October 16, 2020. The parties are reminded to consult the Court's Pretrial and Trial

Procedures when requesting an extension. 1




         Judge Pratter's General Pretrial and Trial Procedures are available on the Judge's Procedures page
of the website for the United States District Court for the Eastern District of Pennsylvania
(https://www.paed.uscourts.gov/),       or    directly    at     https://www.paed.uscourts.gov/documents/
procedures/prapol2.pdf.
